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                          Exhibit B

                Interim Application Summary

   Cover Sheet of Fee Application (UST Guidelines Exhibit E)
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                              SUMMARY OF FIRST INTERIM APPLICATION

    Name of Applicant                                                                      Baker & Hostetler LLP
    Name of Client                                                                        Lordstown Motors Corp.
    Time period covered by Application                                                          October 1, 2023 –
                                                                                              December 31, 2023
    Total compensation sought during the Application Period                                          $264,801.65
    Total expenses sought during the Application Period                                                $3,018.81
    Petition Date                                                                                  June 27, 2023
    Retention Date                                                                                       Effective
                                                                                                   June 27, 2023
    Date of order approving employment                                                           August 18, 2023
    Total compensation approved by interim order to date                                           $1,020,635.10
    Total expenses approved by interim order to date                                                  $30,373.22
    Total allowed compensation paid to date                                                        $1,106,086.90
    Total allowed expenses paid to date                                                               $33,353.65
    Blended rate in the Application for all attorneys                                                    $590.49
    Blended rate in the Application for all timekeepers                                                  $583.39
                                                                                                                          8
    Compensation sought in the Application already paid pursuant to a                                 $85,451.80
    monthly compensation order but not yet allowed
                                                                                                                          1
    Expenses sought in the Application already paid pursuant to a monthly                                   $2,980.43
    compensation order but not yet allowed
                                                                                                                          9
    Number of professionals included in the Application                                                             22
                                                                                                                          2
    If applicable, number of professionals in the Application not included in                                        0
    staffing plan approved by client
    If applicable, difference between fees budgeted and compensation                                                  0
    sought during the Application Period
                                                                                                                          2
    Number of professionals billing fewer than 15 hours to the case during                                          17
    the Application Period
    Are any rates higher than those approved or disclosed at retention? If                                          No
    yes, calculate and disclose the total compensation sought in this
    Application using the rates originally disclosed in the retention
    application.




8     Through the Fourth Monthly Fee Application. As of the date hereof, the objection period for the Fifth Monthly Fee
      Application has passed, however, Applicant has not been paid. As of the date hereof, the objection period for the Sixth
      Monthly Fee Application under the Interim Compensation Procedures has not yet passed.
9     For purposes of this line item, “professionals” is construed to mean “timekeepers.”


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